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                                   UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF NORTH DAKOTA


            In Re:                                             Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                  Chapter 11

                                  Debtor.


            DEBTOR’S MOTION FOR ENTRY OF ORDER: (I) AUTHORIZING CONTINUED
                USE OF CASH MANAGEMENT SYSTEM; (II) AUTHORIZING USE OF
            PREPETITION BANK ACCOUNTS, ACCOUNT CONTROL AGREEMENTS, AND
             CERTAIN PAYMENT METHODS; AND (III) WAIVING THE REQUIREMENTS
                          OF 11 U.S.C. § 345(B) ON AN INTERIM BASIS


                     Vanity Shop of Grand Forks, Inc. (“Debtor”) in the above-captioned chapter 11 case

            hereby moves the Court (“Motion”) for entry of an order substantially in the form attached

            hereto as Exhibit A, pursuant to Sections 105, 345, 363, 364(b), and 503(a) of Title 11 of the

            United States Code, 11 U.S.C. §§ 101 et. seq. (“Bankruptcy Code”), and Rules 6003 and

            6004 of the Federal Rules of Bankruptcy Procedure (“Bankruptcy Rules”): (i) authorizing

            Debtor’s continued use of its existing cash management system; (ii) authorizing Debtor to

            continue using prepetition bank accounts and account control agreements, and using debit,

            wire, and ACH payments; and (iii) waiving the requirements of 11 U.S.C. § 345(b) on an

            interim basis.    In support of this Motion, Debtor relies on the Declaration of Jill

            Motschenbacher in Support of Chapter 11 Petition and First Day Motions (“First Day

            Declaration”), which was filed contemporaneously with this Motion and is incorporated

            herein by reference. In further Support of this Motion, Debtor respectfully represents as

            follows:




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                                           JURISDICTION AND VENUE

                     1.    The Court has jurisdiction over this Chapter 11 Case and this Motion pursuant

            to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).

            Venue of this Chapter 11 Case and this Motion in this district is proper under 28 U.S.C.

            §§ 1408 and 1409.

                     2.    The statutory bases for the relief requested herein are Sections 105(a), 345,

            363, 364(b), and 503(b) of the Bankruptcy Code, and Bankruptcy Rules 6003 and 6004.

                                                   BACKGROUND

            I.       GENERAL

                     3.    On the date hereof (“Petition Date”), Debtor commenced a voluntary case

            under Chapter 11 of the Bankruptcy Code. Debtor is authorized to continue to operate its

            business and manage its property as debtor in possession pursuant to Sections 1107(a) and

            1108 of the Bankruptcy Code. To date, no trustee, examiner, or statutory committee has

            been appointed in this Chapter 11 case. Additional factual background relating to Debtor’s

            business, capital structure, and the commencement of this Chapter 11 case is set forth in

            further detail in the First Day Declaration.

            II.      CASH MANAGEMENT SYSTEM

                     4.    As of the Petition Date, Debtor, in the ordinary course of its business

            operations, employs a total of approximately 149 bank accounts (collectively “Bank

            Accounts”) which are maintained at Wells Fargo Bank, N.A. (“Wells Fargo”) and certain




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            other banks (collectively “Banks”) 1 that operate in connection with a centralized cash

            management system (“Cash Management System”). Through the Bank Accounts, Debtor

            efficiently collects, transfers, and disburses funds generated from its operations on a daily

            basis. Debtor believes the Bank Accounts are generally in a financially stable banking

            institution with the Federal Deposit Insurance Corporation or other appropriate government-

            guaranteed deposit protection insurance.

                   5.      Exhibit B, attached hereto, sets forth for each of the Bank Accounts the name

            and address of the Bank at which the account is maintained, the account number (last four

            digits only), and a brief description of the type of the account. Debtor manages its cash

            receipts, transfers, and disbursements through the Bank Accounts. In doing so, Debtor

            routinely deposits, withdraws, and otherwise transfers funds to, from, and between the Bank

            Accounts by various methods including check, wire transfer, automated clearing house

            transfer, and electronic funds transfer.

                   6.      As indicated on Exhibit B, each of Debtor’s store locations maintains a

            separate deposit account into which each individual store’s receipts and collections are

            deposited daily (collectively “Store Deposit Accounts”). The Store Deposit Accounts are

            swept regularly into a master depository account (“Master Depository Account”)

            maintained at Wells Fargo.       The frequency of the sweeps into the Master Depository

            Account varies for each Store Deposit Account—Wells Fargo Store Deposit Accounts are

            swept daily, and Store Deposit Accounts with other institutions are swept weekly.


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                     Debtor maintains multiple accounts with non-Wells Fargo banks, which are utilized
            primarily as store depository accounts. All such accounts ultimately flow into a Wells Fargo
            account as outlined herein.


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                  7.      Funds in the Master Depository Account are swept on a daily basis by Wells

            Fargo, in its capacity as administrative agent and lender under Debtor’s loan agreement

            (“Wells Fargo Agreement”), and are applied by Wells Fargo towards Debtor’s payment

            obligations under the Wells Fargo Agreement. On a regular basis, Debtor requests draws

            under the Wells Fargo Agreement, with the availability of funds dependent upon Debtor’s

            borrowing base under the applicable loan documents. Funds drawn by Debtor under the

            Wells Fargo Agreement are deposited into an operating account maintained by Debtor at

            Wells Fargo (“Operating Account”).

                  8.      In addition, Debtor maintains three disbursement accounts (collectively

            “Disbursement Accounts”) which are used for disbursement to satisfy obligations,

            excepting payroll obligations, which are satisfied through the Operating Account.     The

            Disbursement Accounts are zero-balance accounts, and a sufficient amount of funds

            necessary to make such payments are regularly transferred from the Operating Account to

            the Disbursements Accounts.

                  9.      On a daily basis, Debtor processes large numbers of transactions through the

            Cash Management System. Debtor maintains current and accurate records of all transactions

            processed through the Cash Management System. Debtor’s Cash Management System is

            similar to those commonly employed by corporate retail enterprises of comparable size and

            complexity.   Among other benefits, the Cash Management System permits Debtor to

            accurately monitor cash availability at all times. The Cash Management System also permits

            Debtor to centrally manage and track the collection and transfer of funds, which reduces

            administrative burden and expense and maximizes interest income.




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                   10.    Pursuant to the Cash Management System, Debtor is party to a number of

            processing agreements (collectively “Processing Agreements”) with Heartland Acquisition

            LLC, Bank of America Merchant Services, LLC, American Express, Authorize.net, Chase

            Paymentech, and Paypal (collectively “Processing Companies”) that enable Debtor to

            accept credit cards as payment for its merchandise.        These Processing Agreements are

            essential to Debtor’s business, as they allow Debtor’s customers to purchase merchandise on

            credit. This operation generally is taken for granted by modern consumers, and its loss

            would significantly impair Debtor’s ability to serve, attract, and retain those customers.

                   11.    In certain instances, the Processing Companies deduct certain of their fees

            from settlement one day in the week following the end of Debtor’s accounting period.

            Debtor estimates as of the Petition Date, approximately $45,000.00 in fees to the Processing

            Companies are outstanding. Because credit card sales account for a significant percentage of

            Debtor’s total sales, it is critical to the Cash Management System that there be no disruptions

            in these payments. Debtor seeks authority from the Court to pay all prepetition unpaid fees

            due to the Processing Companies and to continue such payments to the Processing

            Companies in the ordinary course of Debtor’s business.

                   12.    Under the Processing Agreements, upon the return to Debtor of merchandise

            purchased using a credit card, Debtor is obligated to refund to the Processing Companies the

            purchase price of the returned merchandise plus certain adjustments (collectively, the

            “Chargebacks”) against daily settlement amounts. It is possible that certain Chargebacks

            incurred by Debtor immediately prior to the Petition Date may not have been fully netted out

            prior to the Petition Date. Moreover, although Debtor believes any Chargebacks arising after




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            the Petition Date would be postpetition obligations of Debtor, it may be argued that

            Chargebacks arising after the Petition Date nevertheless should be considered prepetition

            obligations where the returned merchandise was purchased from Debtor prior to the Petition

            Date. In such circumstances, to the extent that the netting of the parties’ obligations would

            not constitute recoupment, the setoff of Chargebacks arguably may be foreclosed by the

            automatic stay imposed by Section 362(a) of the Bankruptcy Code. By this Motion, Debtor

            seeks authority to pay all Chargebacks obligations, and to continue to pay Chargebacks in the

            ordinary course of business.

                   13.    Moreover, as part of Debtor’s Cash Management System, Debtor customarily

            pays for a variety of its Employee’s business-related expenses incurred in performing their

            obligations (“Business Expenses”). In most cases, the Business Expenses are billed to

            various corporate credit cards (“Purchase Cards”). Approximately seven (7) Purchase

            Cards have been issued, and Employees currently use them to charge expenses for goods and

            services purchased for, or incidental to, Debtor’s business, including for charges related to

            business travel. Receipts from purchases made with Purchase Cards are entered into an

            electronic system, and both the purchasing Employee and his or her supervisor approve such

            purchases. Statements are forwarded directly to Debtor, and Employees are not personally

            liable for such business-related charges.

                   14.    Because it is essential to the sustained operation of Debtor’s business and the

            overall Cash Management System that it be permitted to continue paying for Business

            Expenses incurred on the Purchase Cards, debtor seeks relief to make payment on account of

            all accrued but unpaid Business Expenses outstanding on the Petition Date. Although there




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            is no way to determine the precise amount of outstanding Business Expenses at any moment

            because expenses may not have yet been submitted, Debtor estimates approximately one

            month of Business Expenses remain outstanding as of the Petition Date. On average, the

            amount of Business Expenses incurred by Debtor on a monthly basis is approximately

            $18,000.00.

                     15.   In addition to the Cash Management System and Bank Accounts, Debtor uses

            in the ordinary course of its business numerous business forms (including but not limited to

            checks, deposit slips, letterhead, contracts, purchase orders, and invoices). Debtor has a

            supply of these forms on hand. It would be expensive, wasteful, and disruptive to Debtor’s

            business to destroy all of these forms and order new ones.

                                              RELIEF REQUESTED

                     16.   Debtor hereby requests entry of an order, pursuant to Sections 105, 345, 363,

            364(b), and 503(b) of the Bankruptcy Code, and Bankruptcy Rules 6003 and 6004:

            (i) authorizing Debtor’s continued use of the Cash Management System; (ii) authorizing

            Debtor to continue using prepetition bank accounts and account control agreements, and

            using debit, wire, and ACH payments; and (iii) waiving the requirements of 11 U.S.C.

            § 345(b) on an interim basis.

                                       BASIS FOR RELIEF REQUESTED

            I.       MAINTAINING THE EXISTING CASH MANAGEMENT SYSTEM IS
                     IMPORTANT TO DEBTOR’S OPERATIONS AND CHAPTER 11 EFFORTS

                     17.   In light of the substantial size and complexity of Debtor’s operations, the

            maintenance of the Cash Management System is important for the preservation and

            maximization of the value of Debtor’s assets.



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                   18.    Debtor’s request for authorization to continue to use the Cash Management

            System is consistent with Section 363(c)(1) of the Bankruptcy Code, which authorizes a

            debtor in possession to “use property of the estate in the ordinary course of business, without

            notice or a hearing.” 11 U.S.C. § 363(c)(1). Section 363(c)(1) is intended to provide a

            debtor in possession with the flexibility to engage in the ordinary transactions required to

            operate its business. See, e.g., In re Metropolitan Cosmetic & Reconstructive Surgical

            Clinic, P.A., 115 B.R. 185, 188 (Bankr. D. Minn. 1990); see also In re Roth Am., Inc.,

            975 F.2d 949, 952 (3d Cir. 1992); In re Nellson Nutraceutical, Inc., 369 B.R. 787, 796

            (Bankr. D. Del. 2007). Included within the purview of Section 363(c) is a debtor’s ability to

            continue the routine transactions necessitated by its cash management system. See Amdura

            Nat’l Distrib. Co. v. Amdura Corp. (In reAmdura Corp.), 75 F.3d 1447, 1453 (10th Cir.

            1996). Nevertheless, Debtor brings this Motion out of an abundance of caution, to the extent

            any aspect of the Cash Management System could be considered as outside the ordinary

            course of business for purposes of Section 363(c).

                   19.    Courts have noted an integrated cash management system “allows efficient

            utilization of cash resources and recognizes the impracticalities of maintaining separate cash

            accounts for the many different purposes that require cash.” In re Columbia Gas Sys., Inc.,

            136 B.R. 930, 934 (Bankr. D. Del. 1992), rev’d on other grounds, 997 F.2d 1039 (3d Cir.

            1993); see also Southmark Corp. v. Grosz (In re Southmark Corp.), 49 F.3d 1111, 1114 (5th

            Cir. 1995) (finding cash management system allows a debtor “to administer more efficiently

            and effectively its financial operations and assets”). The United States Court of Appeals for

            the Third Circuit has agreed, emphasizing requiring a debtor to maintain separate accounts




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            “would be a huge administrative burden and economically inefficient.” In re Columbia Gas

            Sys., Inc., 997 F.2d 1039, 1061 (3d Cir. 1993).       For these reasons, Debtor should be

            permitted to continue use of the Cash Management System.

            II.    THE COURT SHOULD AUTHORIZE DEBTOR TO MAINTAIN EXISTING
                   BANK ACCOUNTS AND CONTINUE TO USE ITS EXISTING CHECK
                   STOCK

                   20.    The Office of the United States Trustee has established operating guidelines

            for debtors in possession relating to cash management systems (“UST Guidelines”). The

            UST Guidelines, which are designed to provide a clear demarcation between a debtor’s

            prepetition and postpetition operations, require, among other things, a debtor (a) close all

            existing bank accounts, (b) open new accounts designated as “debtor in possession”

            accounts, (c) make all post-petition disbursements by check, and (d) include the words

            “debtor in possession” and certain other information on all checks.” See 28 U.S.C. § 586;

            UST Guidelines.

                   21.    In larger Chapter 11 cases, courts have routinely waived the requirements of

            the UST Guidelines, recognizing they are often impractical and potentially detrimental to a

            debtor’s pospetition business operations and restructuring efforts. See, e.g., Southmark Corp.

            v. Grosz (In re Southmark Corp.), 49 F.3d 1111, 1114 (5th Cir. 1995) (finding the cash

            management system allows the debtor “to administer more efficiently and effectively its

            financial operations and assets”); Official Comm. Of Unsecured Creditors of the Columbia

            Gas Transmission Corp. v. Columbia Gas Sys. Inc. (In re Columbia Gas Sys., Inc.), 997 F.2d

            1039, 1061 (3d Cir. 1993) (finding a requirement to maintain all accounts separately “would

            be a huge administrative burden and economically inefficient”).




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                   22.    Bankruptcy judges in Minnesota have routinely waived the strict enforcement

            of bank account closing requirements imposed pursuant to the guidelines adopted by the U.S.

            Trustee. See, e.g., In re Magnetation LLC, No. 15-50307 (Bankr. D. Minn. May 7, 2015)

            (Docket No. 58); In re Archdiocese of Saint Paul and Minneapolis, No. 15-30125 (Bankr. D.

            Minn. Jan 16, 2015) (Docket #. 17); In re Wagstaff Minnesota, Inc., No. 11-43073 (Bankr. D.

            Minn. May 5, 2011) (Docket No. 37); In re Genmar Holdings, Inc., No. 09-43537 (Bankr. D.

            Minn. June 4, 2009) (Docket No. 24); In re Intrepid U.S.A., Inc., No. 04-40416 (Bankr. D.

            Minn. Mar. 24, 2004) (Docket No. 65).

                   23.    Given the size and complexity of Debtor’s business operations, any disruption

            of its accounting and cash management procedures would be enormously burdensome and

            disruptive, and could adversely impact Debtor’s efforts to reorganize.       At this critical

            juncture, Debtor must be able to conduct “business as usual” to the extent possible. To this

            end, it is essential Debtor be permitted to continue to use its existing Cash Management

            System and Bank Accounts.

                   24.    The Cash Management System and Bank Accounts provide numerous benefits

            to Debtor and its estate. Among other benefits, the Cash Management System and Bank

            Accounts permit Debtor to centrally control and monitor the collection and transfer of funds,

            ensure cash availability, reconcile intercompany transactions, and reduce administrative

            burden and expense. Debtor has the capability through the Cash Management System to

            distinguish between prepetition and postpetition transactions and to reconcile intercompany

            transactions without the necessity of closing the Bank Accounts and opening new ones.




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            Moreover, Debtor has the ability to generate through the Cash Management System detailed

            and accurate reports.

                   25.    Based on the foregoing, there is good cause for to allow Debtor to operate

            each of the Bank Accounts as such were maintained in the ordinary course of business before

            the Petition Date. Continued use of the Cash Management System and the Bank Accounts is

            in the best interest of Debtor’s estate and no party in interest would be prejudiced in any way

            by the continued use.

                   26.    In addition, Debtor has concurrently filed several motions seeking

            authorization to pay prepetition obligations in the ordinary course of business. If Debtor was

            required to open new accounts, it would likely be unable to timely implement the critical

            relief sought in those motions. Debtor has the ability to monitor disbursements from the

            Bank Accounts to ensure that only those prepetition obligations expressly approved by the

            Court are paid.

                   27.    In the ordinary course of its business, Debtor uses certain pre-printed check

            stock. To avoid disruption of the Cash Management System and unnecessary expense,

            Debtor requests it be authorized to continue to use its existing check stock, without reference

            to its status as debtor in possession. Debtor submits parties in interest will not be prejudiced

            if Debtor is authorized to continue to use its existing checks. Debtor will be sending a notice

            of commencement of this Chapter 11 case to all creditors. Most parties doing business with

            Debtor undoubtedly will be aware of its status as debtor in possession; thus, changing checks

            immediately is unnecessary and unduly burdensome.




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                   28.    The Court has authority to grant the relief requested in this Motion under

            Section 105(a) of the Bankruptcy Code, which empowers bankruptcy courts to enter “any

            order, process, or judgment that is necessary or appropriate” to carry out the provisions of the

            Bankruptcy Code. 11 U.S.C. § 105(a). Section 105(a) of the Bankruptcy Code codifies the

            “equitable power” of bankruptcy courts and provides “broad authority” to accomplish tasks

            important to the implementation of the Bankruptcy Code. See United States v. Energy Res.

            Co., 495 U.S. 545, 549 (1990) (“stating the statutory directive of Section 105(a) is

            “consistent with the traditional understanding that bankruptcy courts, as courts in equity,

            have broad authority to modify creditor-debtor relationships”).

            III.   THE COURT SHOULD AUTHORIZE DEBTOR TO CONTINUE USING
                   DEBIT, WIRE, AND ACH PAYMENTS

                   29.    Debtor requests the Court grant further relief from the UST Guidelines to the

            extent they require Debtor to make all disbursements by check. In particular, the UST

            Guidelines require all receipts and all disbursements of estate funds must be made by check

            with a notation representing the reason for the disbursement. As discussed above, in the

            ordinary course of business, Debtor conducts transactions through ACH payments and other

            similar methods. If Debtor’s ability to conduct transactions by debit, wire, ACH payment, or

            other similar methods is impaired, Debtor may be unable to perform under certain contracts,

            its business operations may be unnecessarily disrupted, and its estate will incur additional

            costs. Accordingly, Debtor submits it should be permitted to continue using debit, wire, and

            ACH payments.




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            IV.    THE COURT SHOULD AUTHORIZE THE BANKS TO CONTINUE TO
                   MAINTAIN, SERVICE, AND ADMINISTER THE BANK ACCOUNTS IN
                   THE ORDINARY COURSE OF BUSINESS.

                   30.     Debtor respectfully requests the Court authorize the banks and financial

            institutions (collectively, the “Banks”) at which the Bank Accounts are maintained to

            continue to maintain, service, and administer the Bank Accounts as accounts of debtor in

            possession, without interruption and in the ordinary course of business. In this regard, the

            Banks should be authorized and directed to receive, process, honor, and pay any and all

            checks, ACH payments, and other instructions, and drafts payable through, drawn, or

            directed on the Bank Accounts after the Petition Date by holders, makers, or other parties

            entitled to issue instructions with respect thereto.

                   31.     Debtor further requests the Court authorize the Banks to accept and honor all

            representations from Debtor as to which checks, drafts, wires, or ACH payments should be

            honored or dishonored consistent with any order of the Court and governing law, whether

            such checks, drafts, wires, or ACH payments are dated before or after the Petition Date.

            Debtor also requests, to the extent a Bank honors a prepetition check or other item drawn on

            any account: (i) at the direction of Debtor; (ii) in a good-faith belief that the Court has

            authorized such prepetition check or item to be honored; or (iii) as a result of an innocent

            mistake made despite the above-described protective measures, such Bank shall not be

            deemed to be liable to Debtor or its estate on account of such prepetition check or other item

            honored postpetition. Debtor respectfully submits such relief is reasonable and appropriate

            because the Banks are not in a position to independently verify or audit whether a particular

            item may be paid in accordance with a Court order or otherwise. Debtor further requests the




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            Banks be authorized to (i) honor Debtor’s directions with respect to the opening and closing

            of any Bank Account, and (ii) accept and hold, or invest, Debtor’s funds in accordance with

            Debtor’s instructions: provided in each case that the Banks shall not have any liability to any

            party for relying on such representations.

                     32.   Moreover, Debtor requests the Court authorize (i) the Banks to charge, and

            Debtor to pay or honor, both prepetition and postpetition service and other fees, costs,

            charges, and expenses to which the Banks are entitled under the terms and in accordance

            with their contractual arrangements with Debtor, and (ii) charge-back returned items to the

            Bank Accounts, whether such items are dated before, on or subsequent to the Petition Date,

            in the ordinary course.     Based on historical averages, Debtor estimates approximately

            $25,000 in prepetition Bank service and other fees have accrued but are not yet due and

            owing.

            V.       CAUSE EXISTS FOR WAIVING THE DEPOSIT AND INVESTMENT
                     GUIDELINES UNDER SECTION 345 OF THE BANKRUPTCY CODE

                     33.   Section 345(a) of the Bankruptcy Code authorizes deposit or investment of the

            money of the estate, such as cash, as “will yield the maximum reasonable net return on such

            money, taking into account the safety of such deposit or investment.” 11 U.S.C. § 345(a).

            Although Section 345(a) generally requires, with respect to deposits and investments that are

            not “insured or guaranteed by the United States or by a department, agency or

            instrumentality of the United States or backed by the full faith and credit of the United

            States,” the estate must require a bond in favor of the United States secured by the

            undertaking of a U.S. Trustee approved corporate surety, the court is permitted to dispense

            with this undertaking “for cause.” 11 U.S.C. § 345(b).



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                   34.     The Court’s ability to excuse strict performance of the requirements of Section

            345(b) of the Bankruptcy Code “for cause” arises from the 1994 amendments to the

            Bankruptcy Code. The legislative history of those amendments provides, in pertinent part, as

            follows:

                   Section 345 of the Code governs investments of funds of bankruptcy estates.
                   The purpose[] is to make sure that funds of a bankrupt that are obliged to
                   creditors are invested prudently and safely with the eventual goal of being able
                   to satisfy all claims against the bankruptcy estate. Under current law, all
                   investments are required to be FDIC insured, collateralized or bonded. While
                   this requirement is wise in the case of a smaller debtor with limited funds that
                   cannot afford a risky investment to be lost, it can work to needlessly handcuff
                   larger, more sophisticated debtors. This section would amend the Code to
                   allow the courts to approve investments other than those permitted by section
                   345(b) for just cause, thereby overruling In re Columbia Gas Systems, Inc.,
                   33 F.3d 294 (3d Cir. 1994).

            In re Serv. Merch. Co., 240 B.R. 894, 896 (Bankr. M.D. Tenn. 1999) (quoting H.R. Rep. No.

            103-835, at 46-47), reprinted in 1994 U.S.C.C.A.N. 3340, 3355).

                   35.     In determining whether the “cause” standard under Section 345(b) of the

            Bankruptcy Code has been met, courts consider a “totality of the circumstances analysis,”

            utilizing the following factors: (i) the sophistication of the debtors’ business; (ii) the size of

            the debtors’ business operations; (iii) the amount of the funds involved; (iv) the bank ratings

            (Moody’s and Standard and Poor) of the financial institutions where the debtor in possession

            funds are held; (v) the complexity of the case; (vi) the safeguards in place within the debtor’s

            own business of insuring the safety of the funds; (vii) the debtor’s ability to reorganize in the

            face of a failure of one or more of the financial institutions; (viii) the benefit to the debtor;

            (ix) the harm, if any, to the estate; and (x) the reasonableness of the debtor’s request for relief




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            from the Section 345(b) requirements in light of the overall circumstances of the case. Serv.

            Merch., 240 B.R. at 896.

                   36.       Debtor believes it is in compliance with the requirements of Section 345(a).

            Nevertheless, out of an abundance of caution, Debtor requests: (i) a waiver of the deposit and

            investment requirements of Section 345(b) of the Bankruptcy Code to the extent such

            requirements are inconsistent with Debtor’s current practices; (ii) that applicable institutions

            be authorized and directed to accept and hold or invest such funds at Debtor’s direction; and

            (iii) that applicable institutions be authorized and directed to honor Debtor’s directions with

            respect to the opening and closing of any Bank Account.

                   37.       Even if Debtor’s current deposit and investment practices do not strictly

            comply with the approved guidelines identified in Section 345 of the Bankruptcy Code, the

            practices nevertheless are prudent and designed to yield the maximum reasonable net return

            on the funds invested, taking into account the safety of such deposits.

                   38.       In light of the foregoing, Debtor submits cause exists for waiver of the

            requirements of Section 345(b) of the Bankruptcy Code to the extent that those requirements

            are inconsistent with Debtor’s current deposit and investment practices. Debtor requests

            interim waiver of the Section 345 requirements for a period of thirty (30) days from the

            Petition Date.

                                       IMMEDIATE RELIEF IS JUSTIFIED

                   39.       Bankruptcy Rule 6003 provides the relief requested in this Motion may be

            granted if the “relief is necessary to avoid immediate and irreparable harm.” Fed. R. Bankr.




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            P. 6003. Debtor submits for the reasons already set forth herein, the relief requested in this

            Motion is necessary to avoid immediate and irreparable harm to Debtor.

                                     WAIVER OF ANY APPLICABLE STAY

                   40.     Debtor also requests the Court waive the stay imposed by Bankruptcy Rule

            6004(h), which provides “[a]n order authorizing the use, sale, or lease of property other than

            cash collateral is stayed until the expiration of 14 days after entry of the order, unless the

            court orders otherwise. Fed. R. Bankr. P. 6004(h). As described above, the relief sought

            herein is necessary for Debtor to operate its business without interruption and to preserve

            value of its estate. Accordingly, Debtor respectfully requests the Court waive the fourteen-

            day stay imposed by Bankruptcy Rule 6004(h), as the exigent nature of the relief sought

            herein justifies immediate relief.

                                                        NOTICE

                   41.     Notice of this Motion has been given to: (i) the Office of the United States

            Trustee for the District of North Dakota; (ii) counsel to Wells Fargo Bank, National

            Association; (iii) holders of the twenty (20) largest unsecured claims on a consolidated basis

            against Debtor; (iv) the Banks; (v) counsel to any committee appointed in this case; and

            (vi) any party that has requested notice pursuant to Bankruptcy Rule 2002. Debtor submits,

            in light of the nature of the relief requested, no other or further notice need be given.

                                                    CONCLUSION

                   42.     WHEREFORE, Debtor respectfully requests the Court enter an order,

            substantially in the form attached hereto as Exhibit A, granted the relief requested herein and

            such other and further relief as is just and proper.




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                Dated this 1st day of March, 2017.

                                                     VOGEL LAW FIRM


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                                                   Telephone: 701.237.6983
                                                   PROPOSED COUNSEL TO DEBTOR IN
                                                   POSSESSION




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                                            EXHIBIT A

                                          (Proposed Order)




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                                    UNITED STATES BANKRUPTCY COURT
                                       DISTRICT OF NORTH DAKOTA


            In Re:                                               Case No.: 17-30112

            Vanity Shop of Grand Forks, Inc.,                    Chapter 11

                                   Debtor.


               ORDER: (I) AUTHORIZING CONTINUED USE OF CASH MANAGEMENT
               SYSTEM; (II) AUTHORIZING USE OF PREPETITION BANK ACCOUNTS,
             ACCOUNT CONTROL AGREEMENTS, AND CERTAIN PAYMENT METHODS;
                AND (III) WAIVING THE REQUIREMENTS OF 11 U.S.C. § 345(B) ON AN
                                       INTERIM BASIS


                     Upon the Motion 1 of Debtor for entry of an order, pursuant to Sections 105, 345, 363,

            364(b), and 503(b) of the Bankruptcy Code, and Bankruptcy Rules 6003 and 6004:

            (i) authorizing Debtor’s continued use of the Cash Management System; (ii) authorizing

            Debtor to continue using prepetition Bank Accounts and account control agreements and

            using debit, wire, and ACH payments; and (iii) waiving the requirements of 11 U.S.C.

            § 345(b) on an interim basis; and upon consideration of the First Day Declaration and the

            record of this Chapter 11 case; and it appearing this Court has jurisdiction to consider the

            Motion pursuant to 28 U.S.C. §§ 1334 and 157; and it appearing this is a core matter

            pursuant to 28 U.S.C. § 157(b)(2) and this Court may enter a final order consistent with

            Article III of the United States Constitution; and it appearing venue of this Chapter 11 case

            and of the Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing due

            and adequate notice of the Motion has been given under the circumstances, and that no other

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                      Capitalized terms used but not otherwise defined herein shall have the meanings
            ascribed to them in the Motion.



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            or further notice need be given; and it appearing the relief requested in the Motion is in the

            best interests of Debtor, its estate, its creditors, and other parties in interest; and after due

            deliberation and sufficient cause appearing therefore;

                   IT IS HEREBY ORDERED:

                   1.      The Motion is GRANTED, as set forth herein.

                   2.      Debtor is authorized, in its sole discretion, to: (i) continue operating the Cash

            Management System and honor any prepetition obligations related thereto; (ii) maintain

            existing Bank Accounts and business forms; (iii) maintain the ability to use debit, wire and

            ACH payments; and (iv) continue to deposit and invest funds in accordance with their

            current practices to the extent set forth herein.

                   3.      Debtor shall maintain records in the ordinary course of business reflecting

            transfers of cash, if any, so as to permit all such transactions to be ascertainable and provide

            copies of such records to counsel to Wells Fargo upon request.

                   4.      Debtors is further authorized, in its sole discretion, to: (i) continue to use, with

            the same account numbers, all of the Bank Accounts in existence as of the Petition Date,

            including those accounts identified on Exhibit B to the Motion; (ii) use, in its present form,

            all checks and other documents related to the Bank Accounts existing immediately before the

            Petition Date, without reference to Debtor’s status as debtor in possession; (iii) treat the Bank

            Accounts for all purposes as accounts of Debtor as debtor-in-possession; (d) deposit funds in

            and withdraw funds from the Bank Accounts by all usual means, including checks, wire

            transfers, ACH payments, and other debits; and (e) pay any ordinary course both prepetition




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            or postpetition bank fees incurred in connection with the Bank Accounts, and to otherwise

            perform its obligations under the documents governing the Bank Accounts.

                   5.     All Banks at which the Bank Accounts are maintained are authorized to

            continue to maintain, service, and administer the Bank Accounts as accounts of debtor in

            possession, without interruption and in the ordinary course of business. In this regard, the

            Banks are authorized to receive, process, honor and pay any and all checks, ACH payments

            and other instructions, and drafts payable through, drawn or directed on the Bank Accounts

            by holders, makers or other parties entitled to issue instructions with respect thereto on

            account of any claim arising (i) on or after the Petition Date or (ii) prior to the Petition Date

            and otherwise authorized by this Court.

                   6.     The Processing Agreements shall be maintained and shall continue to govern

            the postpetition cash management relationship between the Debtors and the Processing

            Companies, provided, however, that nothing contained herein shall constitute an assumption

            of the Processing Agreements pursuant to Section 365 of the Bankruptcy Code.

                   7.     The Debtor is authorized to use the commercial card program under the

            WellsOne Commercial Card Express Agreement, dated on or around April 20, 2006 (as

            amended, restated, supplemented or otherwise modified from time to time, the “Card

            Agreement”), between Debtor and Wells Fargo Bank, N.A. (“Wells Fargo”) subject to the

            terms and conditions thereof. Wells Fargo is authorized to make advances from time to time

            to Debtor with a maximum exposure at any time up to $15,000. All prepetition charges and

            fees are authorized and required to be paid. Wells Fargo may rely on representations of

            Debtor with respect to its use of the commercial card program pursuant to the Card




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            Agreement, and Wells Fargo shall not have any liability to any party for relying on such

            representations by Debtor as provided for herein.

                   8.     In the course of providing cash management services to Debtor, any Bank,

            without further order of this Court, is authorized to (i) charge, and Debtor is authorized to

            pay or honor, both prepetition and postpetition service and other fees, costs, charges and

            expenses to which the Banks are entitled under the terms and in accordance with its

            prepetition contractual arrangements with Debtor, and (ii) charge-back returned items to the

            Bank Accounts, whether such items are dated before, on or subsequent to the Petition Date,

            in the ordinary course.

                   9.     For Banks with existing deposit agreements and/or deposit account control

            agreements with the Debtor, said deposit agreements shall continue to govern the

            postpetition cash management relationship between the Debtor and the Banks, and all of the

            provisions of such agreements, including, without limitation, the termination and fee

            provisions, shall remain in full force and effect. Either the Debtor or the Banks may, without

            further Order of this Court, implement changes to the cash management systems and

            procedures in the ordinary course of business pursuant to terms of those certain existing

            deposit agreements and deposit account control agreements, including, without limitation,

            the opening and closing of bank accounts.

                   10.    Notwithstanding any other provisions of this Order, any Bank may rely on the

            representations of Debtor with respect to whether any check, draft, wire, or other transfer

            drawn or issued by Debtor prior to the Petition Date should be honored pursuant this or to

            any order of this Court, and any Bank that honors a prepetition check or other item drawn on




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            any account that is the subject of this Order: (i) at the direction of Debtor, (ii) in a good-faith

            belief that this Court has authorized such prepetition check or item to be honored, or (iii) as a

            result of an innocent mistake made despite the above-described protective measures, shall

            neither be deemed to be in violation of this Order nor be liable to Debtor or its estate on their

            account of such prepetition check or other item being honored postpetition, or otherwise

            deemed to be in violation of this Order.

                     11.   Any Banks are further authorized to (i) honor Debtor’s directions with respect

            to the opening and closing of any Bank Account, and (ii) accept and hold, or invest, Debtor’s

            funds in accordance with Debtor’s instructions; provided, in each case, that the Banks shall

            not have any liability to any party for relying on such representations.

                     12.   For Banks at which Debtor holds Bank Accounts that are party to a Uniform

            Depository agreement with the U.S. Trustee, within fifteen (15) days of the date of entry of

            this Order, Debtor shall (i) contact each Bank, (ii) provide the Bank with the Debtor’s

            employer identification number, and (iii) identify each of the Bank Accounts held at such

            Banks as being held by a debtor in possession in a bankruptcy case.

                     13.   For Banks at which Debtor holds accounts that are not party to a Uniform

            Depository agreement with the U.S. Trustee, Debtor shall have thirty (30) days to comply

            with Section 345 of the Bankruptcy Code unless further extended by order of this Court, and

            Debtor shall use their good-faith efforts to cause the banks to execute a Uniform Depository

            agreement in a form prescribed by the U.S. Trustee within thirty (30) days of the date of this

            Order.




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                   14.    Debtor is authorized to use its existing check stock; provided, however, that

            once Debtor’s existing checks have been used, Debtor shall, when reordering checks, require

            the designation “Debtor in Possession” or “DIP” and the corresponding bankruptcy case

            number on all checks; provided, further, within fifteen days of entry of this Order, any

            electronically produced checks shall reflect the designation “Debtor in Possession” or “DIP”

            and the corresponding bankruptcy case number.

                   15.    Notwithstanding anything contained herein, despite Debtor’s use of the

            consolidated Cash Management System, Debtor shall calculate quarterly fees under

            28 U.S.C. § 1930(a)(6) based on the disbursements of the Debtor.

                   16.    Each of the Banks is authorized to debit Debtor’s accounts in the ordinary

            course of business without need for further order of this Court for: (i) all checks, items, and

            other payment orders drawn on Debtor’s accounts which are cashed at such Bank’s counters

            or exchanged for cashier’s checks by the payees thereof prior to the Bank’s receipt of notice

            of filing of the petition; (ii) all checks, automated clearing house entries, and other items

            deposited or credited to one of Debtor’s accounts with such Bank prior to filing of the

            petition which have been dishonored, reversed, or returned unpaid for any reason, together

            with any fees and costs in connection therewith, to the same extent Debtor was responsible

            for such items prior to filing of the Petition; and (iii) all undisputed prepetition amounts

            outstanding as of the date hereof, if any, owed to any Bank as service charges for the

            maintenance of the Cash Management System.

                   17.    Nothing contained herein shall prevent Debtor from closing any Bank

            Account(s) or opening any additional bank accounts, as it may deem necessary and




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            appropriate, and any relevant bank is authorized to honor Debtor’s requests to close or open

            such Bank Accounts or additional bank accounts, as the case may be; provided that notice of

            the opening or closure of any account shall be given to the U.S. Trustee and any statutory

            committee as soon as practicable; and provided, further, that any new bank accounts shall be

            opened at a bank that is party to a Uniform Depository agreement with the U.S. Trustee, or at

            a bank that is willing to immediately execute a Uniform Depository agreement.

                   18.    Debtor shall maintain accurate and detailed records of all transfers and

            intercompany transactions, if any, within the Cash Management System so that all

            transactions may be readily ascertained, traced, recorded properly, and distinguished between

            prepetition and postpetition transactions.

                   19.    Debtor shall perform sweeps of the Store Deposit Accounts in the ordinary

            course of business.

                   20.    Notwithstanding the relief granted herein and any actions taken hereunder,

            nothing contained in the Motion or this Order shall constitute, nor is it intended to constitute,

            an admission as to the validity or priority of any claim or lien against Debtor or a waiver of

            Debtor’s rights to dispute any claim or lien.

                   21.    Bankruptcy Rule 6003(b) has been satisfied because the relief requested in the

            Motion is necessary to avoid immediate and irreparable harm to Debtor. The requirements

            of Bankruptcy Rule 6004(a) are waived under the circumstances.

                   22.    Notwithstanding any provision in the Bankruptcy Rules to the contrary: (i) this

            Order shall be effective immediately and enforceable upon its entry; (ii) Debtor is not subject

            to any stay in the implementation, enforcement, or realization of the relief granted in this




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            order; and (iii) Debtor is authorized and empowered, and may in its discretion and without

            further delay, take any action necessary or appropriate to implement this Order.

                   23.    Debtor is authorized to take all actions necessary to effectuate the relief

            granted in this Order in accordance with the Motion.

                   24.    This Court retains jurisdiction with respect to all matters arising from or

            related to the implementation or interpretation of this Order.

                   Dated this ____ day of ___________, 2017.



                                                         _______________________________________
                                                         UNITED STATES BANKRUPTCY JUDGE




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                                            EXHIBIT B

                                          (Bank Accounts)




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                                                 VANITY SHOP OF GRAND FORKS, INC.

                                                             Bank Account Listing
                                                             As of March 1, 2017
                                                                                               Ban
                                                                                                k
Store No.             Bank Name                     Bank Address                   Bank City   Stat Bank Zip       Acct. No.          Type
Corporate   Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX0258                Operating
Corporate   Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX6968            Disbursement
Corporate   Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX4458     Depository/Restricted
Corporate   Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX0823        Payroll/Checking
2           Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1899     Depository/Restricted
19          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1003     Depository/Restricted
22          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1029     Depository/Restricted
28          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1037     Depository/Restricted
32          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1045     Depository/Restricted
60          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX6377     Depository/Restricted
65          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1060     Depository/Restricted
66          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1078     Depository/Restricted
68          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1086     Depository/Restricted
70          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1094     Depository/Restricted
78          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1580     Depository/Restricted
87          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1169     Depository/Restricted
88          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1177     Depository/Restricted
98          Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1429     Depository/Restricted
108         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX5899     Depository/Restricted
122         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX4722     Depository/Restricted
132         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1185     Depository/Restricted
165         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX4601     Depository/Restricted
167         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX3207     Depository/Restricted
173         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1201     Depository/Restricted
177         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX5259     Depository/Restricted
212         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1227     Depository/Restricted
213         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX4529     Depository/Restricted
220         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX0438     Depository/Restricted
245         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX1243     Depository/Restricted
297         Wells Fargo Bank               406 Main Ave                        Fargo           ND        58123   XXXXX6815     Depository/Restricted
3           BREMER BANK                    3100 South Columbia Road            Grand Forks     ND        58201   XXXXX4602               Depository
4           US BANK                        423 E Bismarck Expy                 Bismarck        ND        58504   XXXXX1447               Depository
5           UNION STATE BANK               4530 17th Ave S, PO Box 9399        Fargo           ND   58106-9399   XXXXX0005               Depository
7           BANK OF THE WEST               2015 College Way                    Fergus Falls    MN        56537   XXXXX3214               Depository
8           BLACKRIDGE BANK                14084 Baxter Dr. Ste 16             Baxter          MN        56425   XXXXX5433               Depository
9           FIRST NATIONAL BANK            PO Box 670                          Bemidji         MN   56619-0670   XXXXX4805               Depository
10          LAKE REGION BANK               1690 South 1st St                   Willmar         MN        56201   XXXXX1729               Depository
11          FIRST NATIONAL BANK            2505 W 41st, PO Box 5186            Souix Falls     SD   57117-5186   XXXXX0556               Depository
12          US BANK                        312 Raintree Rd                     Mankato         MN        56001   XXXXX0837               Depository
13          US BANK                        6376 N Government Way               Coeur D'Alene   ID        83815   XXXXX8482               Depository
15          FIRST INTERSTATE BANK          2501 Central Ave                    Billings        MT        59102   XXXXX2237               Depository
16          ROCKY MOUNTAIN BANK            2901 West Main                      Bozeman         MT        59718   XXXXX4753               Depository
18          US BANK                        2200 N Maple Ave                    Rapid City      SD        57701   XXXXX0617               Depository
20          AMERICAN STATE BANK & TRUST    PO Box 1446                         Williston       ND   58802-1446   XXXXX127-5              Depository
25          FIRST PREMIER BANK             1414 9th Ave SE #7                  Watertown       SD        57201   XXXXX5072               Depository
26          BREMER BANK                    925 31st Ave SW                     Minot           ND        58701    XXXXX529               Depository
27          STEARNS BANK                   4191 2nd St S                       St. Cloud       MN        56301   XXXXX0524               Depository
31          BLACKRIDGE BANK                3313 Highway 29 South               Alexandria      MN        56308    XXXXX224               Depository
35          FIRST CITIZENS BANK            3220 Harrison Ave, PO Box 3149      Butte           MT   59701-3149    XXXXX514               Depository
36          US BANK                        1700 10th Ave S                     Great Falls     MT        59405   XXXXX0310               Depository
42          AMERICAN BANK                  8401 Unity Dr                       Virginia        MN        55792   XXXXX0697               Depository
46          US BANK                        2732 Milton Ave                     Janesville      WI        53545   XXXXX9962               Depository
47          BANK MUTUAL                    4323 W Wisconsin Ave                Appleton        WI        54913   XXXXX0799               Depository
48          BMO HARRIS BANK                5454 S 76th St                      Greendale       WI        53129   XXXXX0440               Depository
49          COMERICA BANK                  260 Brown Rd                        Auburn Hills    MI        48326   XXXXX8773               Depository
51          BMO HARRIS BANK                First American Center, 500 3rd St   Wausau          WI        54403   XXXXX2602               Depository
54          US BANK                        18781 E 39th St S                   Independence    MO        64057   XXXXX3473               Depository
61          FIRST WESTROADS BANK           15750 W Dodge Rd                    Omaha           NE        68118    XXXXX046               Depository
67          US BANK                        702 E 27th St                       Scottsbluff     NE        69361   XXXXX0291               Depository
69          FIRST NATIONAL BANK N PLATTE   201 N Dewey St                      North Platte    NE        69101   XXXXX1964               Depository
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71    KEY BANK                    2655 East 17th                        Idaho Falls        ID      63406   XXXXX7743    Depository
72    KEY BANK                    1665 Blue Lakes Blvd North            Twin Falls         ID      83301   XXXXX7147    Depository
73    FIDELITY BANK               177 S. Jordan Creek Parkway           West Des Moines    IA      50266    XXXXX386    Depository
74    WASHINGTON FEDERAL BANK     Boise Town Square, 421 N Cole Rd      Boise              ID      83704   XXXXX0445    Depository
75    BANK OF AMERICA             30 E Wellesley Ave                    Spokane            WA      99207   XXXXX2000    Depository
                                  Spokane Valley Mall, 14732 E
76    WHEATLAND BANK              Indiana Ave                           Spokane            WA      99216   XXXXX1450    Depository
77    FIRST CITIZENS BANK         33 E State St                         Mason City         IA      50401   XXXXX6637    Depository
                                  RiverTown Crossings, 3700
80    CHEMICAL BANK               Rivertown Pkwy                        Grandville         MI      49418   XXXXX2759    Depository
                                  Johnson City Plaza Shopping Center,
81    FIRST TENNESSEE             2112 N Roan St                        Johnson City       TN      37601   XXXXX4432    Depository
82    SOUTHERN COMMUNITY BANK     1950 Old Fort Pkwy                    Murfreesboro       TN      37129    XXXXX604    Depository
83    CAPITAL BANK                1786 Wilma Rudolph Blvd               Clarksville        TN      37040   XXXXX0716    Depository
84    CHEMICAL BANK               4955 Bay Rd                           Saginaw            MI      48604   XXXXX3818    Depository
90    DOLLAR BANK                 7891 Mentor Ave                       Mentor             OH      44060   XXXXX3900    Depository
92    PNC BANK                    2629 Scottsville Rd                   Bowling Green      KY      42104   XXXXX9501    Depository
94    FIRST NATIONAL BANK         1601 N Hill Field Rod                 Layton             UT      84041   XXXXX8801    Depository
96    COMERICA BANK               109 E Grand River Ave                 East Lansing       MI      48823   XXXXX1770    Depository
100   HUNTINGTON BANK             68011 Mall Ring Rd                    St. Clairsville    OH      43950   XXXXX3239    Depository
104   US BANK                     4640 Golf Rd                          Eau Claire         WI      54701   XXXXX7945    Depository
105   BMO HARRIS BANK             3500 State Road 16                    La Crosse          WI      54601    XXXXX948    Depository
106   ASSOCIATED BANK             2403 S. Oneida Street                 Green Bay          WI      54304   XXXXX4411    Depository
109   FIFTH THIRD BANK            3200 East Third Street                Bloomington        IN      47401   XXXXX9322    Depository
110   MUTUAL BANK                 1912 W McGalliard Rd                  Muncie             IN      47304   XXXXX2214    Depository
111   DACOTAH BANK                3312 Sixth Ave SE                     Aberdeen           SD 57401-1500   XXXXX0674    Depository
112   HUNTINGTON BANK             611 W. County Line Road               Greenwood          IN      46142   XXXXX1429    Depository
114   PNC BANK                    2761 Fairfield Commons                Beavercreek        OH      45431   XXXXX0897    Depository
115   PNC BANK                    8220 Springboro Pike                  Miamisburg         OH      45342   XXXXX1391    Depository
116   THE UNION BANK CO           3211 Elida Rd                         Lima               OH      45805   XXXXX4189    Depository
117   FIRST NATIONAL BANK         7025 Market St                        Boardman           OH      44512   XXXXX7135    Depository
124   US BANK                     11751 Princeton Pike                  Cincinnati         OH      45246   XXXXX2779    Depository
126   US BANK                     2801 Brooks St                        Missoula           MT      59801   XXXXX5797    Depository
128   1ST INTERSTATE BANK         521 SE Wyoming Blvd                   Casper             WY      82609   XXXXX2188    Depository
129   BANK OF THE WEST            1515 Dell Range Blvd                  Cheyenne           WY      82009   XXXXX6047    Depository
130   VERIDIAN CREDIT UNION       1422 Flammang Dr                      Waterloo           IA      50702   XXXXX2508    Depository
131   US BANK                     222 Washington St                     Cedar Falls        IA      50613   XXXXX0440    Depository
133   US BANK                     2615 Grand Ave                        Ames               IA      50010     XXXXX06    Depository
136   KEY BANK                    688 N Lexington Springmill Rd         Mansfield          OH      44906   XXXXX5166    Depository
137   FARMERS STATE BANK          1380 Twixt Town Rd                    Marion             IA      52302    XXXXX945    Depository
138   US BANK                     435 John F Kennedy Rd                 Dubuque            IA      52002   XXXXX2986    Depository
139   FARMERS & MERCHANTS BANK    Highway 534 and Gear Ave W            Burlington         IA      52655    XXXXX932    Depository
140   HOMETOWN NATIONAL BANK      4141 Venture Dr                       Peru               IL      61354     XXXXX73    Depository
141   US BANK                     6701 N Illinois St                    Fairview Heights   IL      62208   XXXXX1348    Depository
143   US BANK                     7200 Harrison Ave #C                  Rockford           IL      61112   XXXXX1223    Depository
145   BANK OF AMERICA             14000 Lakeside Circle                 Sterling Heights   MI      48313   XXXXX7385    Depository
147   FIRST BANKERS TRUST CO      PO Box 3566                           Quincy             IL      62305     XXXXX22    Depository
148   FIRST FINANCIAL BANK        7690 Mall Road                        Florence           KY      41042   XXXXX8491    Depository
152   CHASE BANK                  434 Main St                           Zanesville         OH      43701   XXXXX5020    Depository
163   BANNER BANK                 8200 W Gage Blvd                      Kennewick          WA      99336   XXXXX1215    Depository
164   UMB BANK                    710 Citadel Dr E                      Colorado Springs   CO      80909   XXXXX4086    Depository
166   FIRST BANK OF NORTHERN CO   2901 23rd Ave                         Greeley            CO      80631   XXXXX7968    Depository
170   PLAINSCAPITAL BANK          South Plains Mall, 6002 Slide Road    Lubbock            TX      79414    XXXXX079    Depository
171   AMARILLO NAT'L BANK         2401 Coulter St                       Amarillo           TX      79121    XXXXX404    Depository
174   CHASE BANK                  6025 Eastex Freeway                   Beaumont           TX      77706   XXXXX4570    Depository
178   CAPITAL ONE BANK            7601 South Broadway                   Tyler              TX      75701   XXXXX9889    Depository
179   TEXAS BANK & TRUST          3622 McCann Rd                        Longview           TX      75605    XXXXX230    Depository
181   KEY BANK                    711 Mall Circle                       Monroeville        PA      15146   XXXXX3574    Depository
183   UNITED BANK                 234 Grand Central Mall                Vienna             WV      26105   XXXXX2898    Depository
184   UNITED BANK                 176 Holland Ave                       Westover           WV      26501   XXXXX2437    Depository
185   M & T BANK                  1400 Miracle Mile Drive               Rochester          NY      14623   XXXXX7300    Depository
190   NATIONAL BANK OF COMMERCE   3202 W Owen K Garriott Rd             Enid               OK      73703    XXXXX293    Depository
199   IBC BANK                    7021 S Memorial Dr #269a              Tulsa              OK      74133   XXXXX3965    Depository
202   TOWN & COUNTRY BANK         3601 Wabash Ave                       Springfield        IL      62711    XXXXX294    Depository
203   ASSOCIATED BANK             4600 Brandywine Drive                 Peoria             IL      61614   XXXXX4329    Depository
207   US BANK                     2005 N Moorland Rd                    Brookfield         WI      53005   XXXXX1611    Depository
209   CENTENNIAL BANK             2901 E Highland Dr                    Jonesboro          AR      72401    XXXXX902    Depository
210   BANCORPSOUTH                7000 Rogers Ave                       Fort Smith         AR 72903-5540   XXXXX0401    Depository
214   SUNFLOWER BANK              1902 Vine St                          Hays               KS      67601   XXXXX1332    Depository
            Case 17-30112                  Doc 16             Filed 03/01/17 Entered 03/01/17 09:45:32                         Desc Main
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217         BANK OF AMERICA                              2105 Pinecroft Road            Greensboro      NC      27407   XXXXX6626            Depository
218         ASHEVILLE SAVINGS BANK                       10 South Tunnel Rd             Asheville       NC      28805   XXXXX6667            Depository
219         SUNTRUST BANK                                2006 S Hawthorne Rd            Winston-Salem   NC      27103   XXXXX7216            Depository
221         US BANK                                      3410 S 143rd Plz               Omaha           NE      68144   XXXXX8320            Depository
223         CHASE BANK                                   4512 24th Ave                  Fort Gratiot    MI      48059   XXXXX0355            Depository
226         TCF BANK                                     2989 White Bear Ave N          Saint Paul      MN      55109   XXXXX0548            Depository
230         COMMERCE BANK                                1345 E Battlefield Rd          Springfield     MO      65804   XXXXX4240            Depository
232         COMMERCE BANK                                2000 Bernadette Dr             Columbia        MO      65203   XXXXX8996            Depository
233         BANK MIDWEST                                 801 N 36th St                  St Joseph       MO      64506   XXXXX4633            Depository
234         BANK OF AMERICA                              200 Mid Rivers Mall Dr         St Peters       MO      63376   XXXXX1449            Depository
235         US BANK                                      110 S County Center Way        St. Louis       MI      63129   XXXXX3192            Depository
236         US BANK                                      105 N Range Line Rd            Joplin          MO      64801   XXXXX7486            Depository
244         SOUTH OTTUMWA SAVING BANK                    PO Box 516                     Ottumwa         IA 52501-0516    XXXXX751            Depository
250         FIRST NATIONAL BANK                          2414 E Kansas Ave              Garden City     KS      67846    XXXXX091            Depository
251         UMB BANK                                     2375 S 9th St                  Salina          KS      67401   XXXXX8920            Depository
254         COMMERCE BANK                                727 Poyntz Ave                 Manhattan       KS      66502   XXXXX8869            Depository
255         COREFIRST BANK & TRUST                       2129 SW Wanamaker Rd           Topeka          KS      66614    XXXXX432            Depository
271         FIRST FINANCIAL BANK                         Honey Creek Mall, 3401 US-41   Terre Haute     IN      47802    XXXXX972            Depository
272         CHASE BANK                                   2207 Sagamore Pkwy S           Lafayette       IN      47905   XXXXX7374            Depository
275         FIFTH THIRD BANK                             2133 North Telegraph Road      Monroe          MI      48162   XXXXX0306            Depository
276         CHEMICAL BANK                                G-3501 S Linden Rd             Flint           MI      48507   XXXXX6515            Depository
277         CHEMICAL BANK                                6711 N Jefferson Ave           Midland         MI      48642   XXXXX7820            Depository

Corporate   First Data Corp / First Data Money Network   12510 E Belford M21A1          Englewood       CO      80112   XXXXX0012 Paycard Disbursement
